Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 1 of 25




              EXHIBIT 8
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 2 of 25
                   Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 3 of 25
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                                     .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:
                   Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 4 of 25
 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
         Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 5 of 25




                                                                                          SCHEDULE A

                                                DEFINITIONS

          1.           The definitions set forth in Federal Rule of Civil Procedure 34 are hereby

incorporated by reference.

          2.           “CMS” means the United States Centers for Medicare and Medicaid Services; its

current and former agents, employees, commissioners; and its constituent parts and predecessors,

including the Health Care Finance Administration (“HCFA”), the Department of Health and

Human Services (“HHS”), the Social Rehabilitative Service, and the Department of Health,

Education & Welfare; and any other person who currently or formerly acted or purported to act

on its behalf.

          3.           “Communication” means any form of written or oral communication, both

internal and external, including letters, memoranda, e-mail, telegrams, invoices, telephone

conversations, face-to-face meetings, and other similar forms of communication or

correspondence.

          4.           “Concerning,” “referring to,” “reflecting,” “regarding,” or “relating to” means, in

whole or in part and directly or indirectly, about, analyzing, comprising, commenting on,

concerning, connected to, constituting, containing, dealing with, describing, discussing,

embodying, evaluating, evidencing, identifying, illustrating, in respect thereof, mentioning,

noting, rebutting, recording, referring to, reflecting, refuting, regarding, relating to, responding

to, setting forth, showing, stating, studying, summarizing, supporting, or in any way pertaining

to, either explicitly or implicitly.

          5.           “Document” means all materials as defined in Federal Rule of Civil Procedure 34,

including handwritten, printed, typed, recorded, photographic, and computer-generated materials




NEWYORK 8131946 (2K)
         Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 6 of 25




of any kind or nature, however produced or reproduced, whether stored electrically,

electronically, electromechanically, mechanically, magnetically, optically, or through other

means, and includes any drafts, preliminary and preparatory materials, originals, copies, e-mails,

attachments, exhibits, removable notes, and translations or summaries thereof.

          6.           “Including” means including without limitation.

          7.           “State” means the State of Florida, its legislative and executive branches and all

their agencies (including any agencies that purchase or pay for prescription drugs), boards,

commissions, departments, divisions, fiscal agents, instrumentalities, intermediaries, and any

other administrative bodies; its current and former agents, employees, officers, officials,

attorneys, accountants, administrators, and other Persons or entities involved in administering,

overseeing, or monitoring any State Program; and any other person who currently or formerly

acted or purported to act on its behalf.

          8.           “State Medicaid Program” means the State agency responsible for carrying out

the Medicaid program in the State; all its branches, agencies, committees, or departments; all its

current and former administrators, staff, employees, agents, consultants, accountants, or

attorneys; and any other person who currently or formerly acted or purported to act on its behalf.

          9.           “You” and “Your” refer to the State.

                                               INSTRUCTIONS

          1.           If it is claimed that a Request calls for documents that are privileged, work

product, or otherwise protected from disclosure and such privilege or work product is asserted,

identify the nature of the privilege that is claimed, and provide the following information: (a) the

type of document (e.g., letter, memorandum); (b) the general subject matter of the document; (c)

the date of the document; and (d) such other information as is sufficient to identify the document




                                                        -2-
NEWYORK 8131946 (2K)
         Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 7 of 25




for a subpoena duces tecum, including, where appropriate, the author, addressee, and any other

recipient of the document, and, where not apparent, the relationship of the author, addressee, and

any other recipient to each other. Any part of a document to which the State does not claim

privilege or work product should be produced. For each document withheld under a claim of

attorney work product, also state whether the document was prepared in anticipation of litigation

or trial and, if so, identify the anticipated litigation or trial upon which the assertion is based.

          2.           Do not withhold the production of documents on grounds that they contain

confidential, sensitive, or proprietary information. Any such documents should be produced and

appropriately labeled in accordance with the protective order entered in this case, a copy of

which is attached hereto as Exhibit A.

          3.           If a document responsive to a Request was, but is no longer in the State’s

possession, or subject to its control or in existence, identify the document and state whether: (a)

it is missing or lost, (b) it has been destroyed, (c) it has been transferred to others (identifying

those persons to whom the documents have been transferred), or (d) it has been disposed of in

some other manner. In each instance, explain the circumstances surrounding each disposition

and identify the person directing or authorizing its destruction or transfer and the dates of such

direction or authorization.

          4.           These Requests are continuing in character and require You to supplement Your

responses and produce additional responsive documents if You locate or obtain possession,

custody, or control of such documents at any time prior to trial.




                                                       -3-
NEWYORK 8131946 (2K)
         Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 8 of 25




                                          DOCUMENT REQUESTS

          1.           “Section 4.19(b)” and “Attachment 4.19-B” of each Florida Medicaid State Plan.

          2.           All communications with CMS regarding (a) the implementation of or

amendments to “Section 4.19(b)” or “Attachment 4.19-B” of the Florida Medicaid State Plans

concerning pharmaceutical reimbursements, and (b) any proposed or actual changes to the

Medicaid formula for reimbursement of prescription drugs (including without limitation both the

ingredient cost and dispensing fee components).

          3.           As reflected in the spreadsheet attached to the e-mail from Gretchen Wallace to

Stefan Mentzer dated April 13, 2011, 8:35 a.m., all documents currently or formerly in the

custody of Ray Aldridge, Linda Barnes, Greg Bracko, Gary Crayton, Marie Donnelly, Darlene

Frost-Penn, George Kitchens, Stephen Lipscomb, Jane Mann, Susan McLeod, “Org Charts,”

Jason Ottinger, “Pharmacy GroupShare,” Jim Powers, Sue Preacher, Ralph Quinn, Sybil

Richard, Robert Sharpe, Anne Wells, Jerry Wells, Regina Wiggins, and Ken Yon containing the

following search terms:

                       a.     “State Plan”

                       b.     SPA

                       c.     4.19B

                       d.     4.19-B

                       e.     4.19(b)

                       f.     “Estimated Acquisition Cost”

                       g.     EAC

                       h.     “Average Wholesale Price”

                       i.     AWP




                                                       -4-
NEWYORK 8131946 (2K)
         Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 9 of 25




                       j.    “Wholesale Acquisition Cost”

                       k.    WAC

                       l.    “Average Manufacturer Price"

                       m.    AMP

                       n.    pharmac! /5 reimb!

                       o.    “reimbursement for drugs”

                       p.    acqui! /5 cost!

                       q.    nondiscounted /5 AWP

                       r.    unmodified /5 AWP

                       s.    “Centers for Medicare and Medicaid Services”

                       t.    CMS

                       u.    “Health Care Financing Administration”

                       v.    HCFA

                       w.    Abt

                       x.    “Myers & Stauffer”

                       y.    “Myers and Stauffer”

                       z.    M&S

                       aa.   “Provider Synergies”




                                                    -5-
NEWYORK 8131946 (2K)
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 10 of 25




            EXHIBIT A
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 11 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 12 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 13 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 14 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 15 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 16 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 17 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 18 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 19 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 20 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 21 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 22 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 23 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 24 of 25    12/17/2002
                                                                      03:35 PM EST
Case 1:01-cv-12257-PBS Document 7552-8 Filed 05/20/11 Page 25 of 25    12/17/2002
                                                                      03:35 PM EST
